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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  CENTRAL DIVISION

                    Roberto A. Lange United States Chief Judge Presiding

 Courtroom Deputy - DLC                              Court Reporter – Connie Heckenlaible
 Courtroom - PR #1                                   Date – January 14, 2020
 U.S. Probation Officer – Jenna Nielsen

                                          3:19-cr-30047

 UNITED STATES OF AMERICA                                    Cameron J. Cook

                   Plaintiff,

                      vs.

 ANDREA CIRCLE BEAR                                          A. Jason Rumpca
 A/K/A ANDREA HIGH BEAR

                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 1:00 p.m.

 TIME:
2:31 p.m.     Enter CONTESTED Sentencing Hearing

              Defendant now sentenced to 26 months imprisonment; 3 years supervised release;
              $100.00 special assessment

3:24 p.m.     Court adjourned
